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     In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1620V
                                         UNPUBLISHED


    DAWN BROOKS,                                              Chief Special Master Corcoran

                         Petitioner,                          Filed: May 12, 2020
    v.

    SECRETARY OF HEALTH AND                                   Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                           Stipulation on Damages; Influenza
                                                              (Flu) Vaccine; Shoulder Injury
                        Respondent.                           Related to Vaccine Administration
                                                              (SIRVA)


Jimmy A. Zgheib, Zgheib Sayad, P.C., White Plains, NY, for petitioner.

Robert Paul Coleman, III, U.S. Department of Justice, Washington, DC, for respondent.


                               DECISION ON JOINT STIPULATION1

       On October 19, 2018, Dawn Brooks filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccination administered on
October 6, 2017. Petition at 1; Stipulation, filed May 12, 2020, at ¶¶ 2, 4. Petitioner
further alleges that she received the vaccine the United States, that she experienced
the residual effects of this injury for more than six months, and that there has been no
prior award or settlement of a civil action for damages on her behalf as a result of her
condition. Petition at 1, 5; Stipulation at ¶¶ 3-5. “Respondent denies that petitioner
sustained a Table SIRVA injury, and denies that the influenza vaccine caused petitioner
to suffer from a shoulder injury or any other injury. ” Stipulation at ¶ 6.


1 Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access
to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on May 12, 2020, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth
therein.


     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $40,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                              OFFICE OF SPECIAL MASTERS

                                              )
DAWN BROOKS.                                  )
                                              )
               Petitioner,                    )
                                              )      No. I 8-1620V
v.                                            )      Chief Special Master Corcoran
                                              )      ECF
SECRETARY OF HEALTH                           )
AND HUMAN SERVICES,                           )
                                              )

_________________
               Respondent.                    )
                                              )


                                        STIPULAJION

       The parties hereby stipulate to the foll.owing matters:

       1. Dawn Brooks ("petitioner") filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa- l0 to 34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of an influenza vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"). 42

C.F.R. § 100.3(a).

       2. Petitioner received the influenza vaccine on or about October 6, 2017.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she suffered a shoulder jnjury related to vaccine administration

("SIRVA") as a result of receiving an influenza vaccine. and experienced the residual effects of

her injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her condition.
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       6. Respondent denies that petitioner sustained a Table SIRVA injury. and denies that the

influen7..a vaccine caused petitioner to suffer from a shoulder injury or any other injury.

       7. Maintaining their above•stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8. As soon as practicable after an entry of judgment reflecting a decision consi~tent with

the terms of this Stipulation, and after petitioner has filed both a proper and timely election to

receive compensation pursuant to 42 U.S.C. § 300aa-21 (a)(J ), the Secretary of Health and

Human Services wiJI issue the following vaccine compensation payment:

       A lump sum of $40,000.00 in the form of a check payable to petitioner. This amount
       represents compensation for all dumages lhat would be avaj(able under 42 u.S.C. §
       300aa-15(a).

       9. As soon as practicable after the entry of judgment on entitlement in this case. and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21(a)(l). and an application. the parties will submit Lo further proceedings before

the Chief Special Master to award reasonable. attorneys' fees and costs incurred in proceeding

upon this petition.

        10. Petitioner and her attorney represent 1:hat they have identified to respondent all

known sources of paymenl for items or services for which tJ1e Program is not primariJy liable

under 42 U.S.C. § 300aa-15(g), including State compensation program_s, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et. Seq.)), or entities that provide health services on a pre-paid basis.




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        11. Payment made pursuant to paragraph 8 of this Stipulation, and any amount awarded

pursuant to paragraph 9, will be made in accordance with 42 U.S.C. § 300aa-15(i), subject to the

availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and su~ject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

        13. In return for the payment described in paragraph 8. and any amount awarded

pursuant to paragraph 9. petitioner, in her individual capacity, and on behalf of her heirs,

executors, administrators. successors, and/or assigns, does forever in-evocably and

unconditionally release, acquit and discharge the United States and the Secretary of Health and

Human Services from any and all nctions or causes of action (including agreements, judgments,

claims, damages, loss of services, expenses and al I demands of whatever kind or nature) that

have been brought, could have been brought, or could be timely brought in the United States

Court of Federal Claims. under the National Vaccine Injury Compensation Program, 42 U.S.C.

§ 300aa-10 et seq., on account of, or in any way growing out of. any and all known or unknown,

suspected or unsuspected personal injuries to or death of petitioner resulting from, or aJleged to

have resulted from. the influenza vaccine administered on or about October 6, 2017, as alleged

by petitioner in a petition for vaccine compensation filed on or about October 19, 2018, in the

United States Court of Federal Claims as petition No. l 8~ 1620V.

        J4. If petitioner should die prior to ent.ry of judgment, this agreement shall be voidahle

upon proper notice to the Court on behalf of either or both of the parties.



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        15. If the Chief Special Master fails to issue a decision in complete confonnity with the

terms of this Stipulation or if the United States Court of FederaJ Claims fails to enter judgment in

confonnity with a decision that is in complete confonnity with the terms of this Stipulation, then

the panies' settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended. except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability anct/or

amount of damages, and further, tl1at a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the influenza vaccine caused petitioner to suffer a

shoulder injwy or any other injmy.

        18. All rights ,md obligations of petitioner hereunder shall apply equally to petitioner's

heirs. executors. administrators, successors. und/or assigns.

                                     END OF STJPlJl ,ATI.ON




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RespectfulJy submitted,

PETITIONER:


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 A NBR OKS


ATTORNEY OF RECORD FOR
PETITIONER:



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                                                  Washington, DC 20044•0146


Al;THORIZED REPRESENTATIVE                        ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                        RESPONDENT:
AND HUMAN SERVICES:
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TAMARA OVERBY
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Acting Dfrector, Division of Vaccine              Trial Attorney
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Dated:   _5} t ~ JW
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